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                                   7                                    UNITED STATES DISTRICT COURT

                                   8                                   NORTHERN DISTRICT OF CALIFORNIA

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                                         WATERKEEPER ALLIANCE, INC., et al.,
                                  10                                                          Case No. 18-cv-03521-RS
                                                         Plaintiffs,
                                  11
                                                  v.                                          ORDER GRANTING MOTION FOR
                                  12                                                          EXTENSION OF TIME
Northern District of California




                                         U.S. ENVIRONMENTAL PROTECTION
 United States District Court




                                  13     AGENCY, et al.,
                                  14                     Defendants.

                                  15

                                  16           Defendants move pursuant to Civil Local Rule 6-3 for a further extension of time, from

                                  17   April 23, 2021 to June 22, 2021, to answer the complaint herein, in light of the administration’s

                                  18   ongoing review of the regulation at issue in this matter. Defendants do not presently seek to extend

                                  19   the general stay of the litigation that is set to expire on April 17, 2021.

                                  20           Defendants represent that plaintiffs declined to stipulate to the requested extension and

                                  21   stated they would oppose this motion. The deadline for opposition has expired, see Rule 6-3(b),

                                  22   and none has been filed. Good cause appearing, the motion is granted.

                                  23

                                  24   IT IS SO ORDERED.

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                                  26   Dated: April 14, 2021

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                                                                                           RICHARD
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                                  28                                                       Chief United States District Judge
